                                                               FILED IN OPEN COURT
                                                                 U.S.D.C.. Atlanta
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                  IN THE UNITED STATES DISTRICT COLTO-IN
               FOR THE NORTHERN DISTRICT OF GEO^SlJ
                             ATLANTA DIVISION


UNITED STATES OF AMERICA

V.
                                                   CRIMINAL CASE NO.

                                                  1:18-CR-00098-SCJ-LTW-1
MITZI BICKERS/

     Defendant.




                                       VERDICT

       As to the crime charged in Count One of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                    Guilty                  . Not Guilty


       As to the crime charged in Count Two of the Indictment/ ~we the Jury/ find

the Defendant/ MITZI BICKERS,



                    Guilty              \/_ Not Guilty



       As to the crime charged in Count Three of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS/



                    Guilty                   Not Guilty
     As to the crime charged in Count Four of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                 Guilty _ Not Guilty



     As to the crime charged in Count Five of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS/



                 Guilty _ Not Guilty


     As to the crime charged in Count Six of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                 Guilty _ Not Guilty



     As to the crime charged in Count Seven of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                 . Guilty _ Not Guilty


     As to the crime charged in Count Eight of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                 Guilty _ Not Guilty
     As to the crime charged in Count Nine of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                 Guilty _ Not Guilty


     As to the crime charged in Count Ten of the Indictment/ we the Jury/ find

the Defendant/ MITZI BICKERS,



                . Guilty _ Not Guilty



     As to the crime charged in Count Eleven of the Indictment/ we the Jury/

find the Defendant/ MITZI BICKERS,



                . Guilty V Not Guilty


     As to the crime charged in Count Twelve of the Indictment/ we the Jury/

find the Defendant/ MITZI BICKERS,



                 Guilty _ Not Guilty




     SO SAY WE ALL^ signed and date4^at the_United States Conrthouse/
Atlanta, Georgia/ this '^'^ day of ( I \(\^r\ . 2022.


         Wj                                       J'Utfil ^
Foreperson/s Signature Foreperson's Printed Name
